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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                                  Chapter 11

SHIFTPIXY, INC. et, al.1                                Case No. 24-21209-LMI

      Debtors.                                          (Jointly Administered)
_______________________________/

  EMERGENCY MOTION TO SET STATUS CONFERENCE AND RECONSIDER
  AGREED ORDER GRANTING CREDITOR, TACOS 2000, INC.’S MOTION FOR
ORDER AUTHORIZING AND DIRECTING TO FILE CORRECTED WAGE AND TAX
                    STATEMENTS (FORM W-2C)

                    EXPEDITED HEARING REQUESTED PURSUANT TO
                           LOCAL RULE 9013-1(F)AND 9075-1

               Debtors request an expedited hearing on this matter, as their
               loss of employees and resources to sustain continued operations
               necessitates immediate conversion and the Court’s
               consideration of related issues.

         Shiftpixy, Inc., as debtor and debtor-in-possession (the “Debtor”), by and through

undersigned counsel, files this Motion to Set Status Conference and Reconsider Agreed Order

Granting Creditor, Tacos 2000, Inc.’s Motion for Order Authorizing and Directing to File

Corrected Wage and Tax Statements (Form W-2C), and in support thereof states as follows:

         1.    The Court conducted a hearing on December 16, 2024, to consider the Debtor’s

Expedited Motion Of The Debtors For The Entry Of An Order Converting The Debtors’ Chapter

11 Cases To Cases Under Chapter 7 Of The Bankruptcy Code Upon The Closing Of The Sale

[ECF No. 109] and Creditor Tacos 2000, Inc.’s Motion for Order Authorizing and Directing the

Debtor to File Corrected Wage and Tax Statements (Form W-2C) (the “Tacos 2000 Motion”) [ECF

No. 124].

         2.    At the conclusion of the hearing the Court directed counsel for the Debtor and

confer in an effort to resolve the issues presented in the Tacos 2000 Motion.
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        3.       On December 20, 2024, the Court entered the Agreed Order Granting Creditor

Tacos 2000, Inc.’s Motion for Order Authorizing and Directing the Debtor to File Corrected Wage

and Tax Statements (Form W-2C) (the “Agreed Order”) [ECF No. 150].

        4.       Pursuant to the terms of the Agreed Order, the Debtor was authorized and directed

to prepare and file corrected 2019 Wage and Tax Statements (“2019 Form W-2Cs”) on behalf of

Tax 2000 to correct the duplicative filed Form W-2s filed in January, 2020 and again in February

2020 prior to the closing of the anticipated sale of the Debtor’s assets and prior to the conversion

of the instant proceeding to Chapter 7.

        5.       The Agreed Order further required the Debtor to obtain the approval of Tacos 2000

prior to filing the corrected W-2 forms.

        6.       Since the December 16th hearing, the Debtor, with limited employees and resources,

has exhausted best efforts to prepare and corrected W-2 forms on behalf of Tacos 2000s. Indeed,

the software used to create the original w-2s in 2019 is no longer available to the Debtor. The

Debtor used backup to import the necessary information into the current software, but system data

was incompatible and gave the incorrect results. Thereafter, the Debtor’s two member team,

worked overtime including through the holidays to manually input data and prepare corrected W-

2 forms as requested by Tacos 2000.

        7.       On December 31, 2024, the Debtor delivered the corrected W-2 forms, including

manual corrections, to Tacos 2000 for review and approval.

        8.       Tacos 2000 has declined approval because the W-2 forms, with manual corrections,

cannot be electronically filed as preferred by Tacos 2000 given instructions it received from

representatives of the Social Security Administration.1


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 Importantly, the Debtor consulted with representatives of the Social Security Administration about the requested
W-2 form corrections and was advised against taking such action in light of intervening adjustments (with an
estimated 6-8 week review period, but deferred to the requests of Taco 2000 and the terms of the Agreed Order.
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       9.      The Debtor does not have available software and employees to deliver the W-2

form corrections in the manner required by Tacos 2000.

       10.     The Debtor is also losing its remaining employees and will lack the technical and

human resources to sustain operations.

       11.     Accordingly, the Debtor has been unable to submit the orders of conversion for the

jointly administered chapter 11 proceedings.

       12.     A status conference is necessary to resolve issues related to Taco 2000’s requested

W-2 form corrections and other matters related to the pending conversion.

       13.     The Debtor therefore requests that the Court enter an order setting a status

conference on or before January 9, 2025.

       WHEREFORE the Debtor requests that the Court enter an order, setting a status conference

and directing the parties to meet and confer at least 14 days prior to such scheduled conference

date and granting any other relief the Court deems just and appropriate.

       Dated: January 6, 2025.                       Respectfully submitted,

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                                                     By: /s/ Monique D. Hayes, Esq.
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                                   CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification to all

parties registered to receive electronic notice on this 6th day of January, 2025.



                                                         By: /s/ Monique D. Hayes, Esq.
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